            Case 1:22-cv-09333-AT Document 1 Filed 10/31/22 Page 1 of 17




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                           x
                                           :   Civil Action No.:
VANESSA JIMENEZ, Individually, and On
                                           :
Behalf of All Others Similarly Situated,
                                           :
                                           :
                          Plaintiff,       :   CLASS ACTION COMPLAINT FOR
                                           :   VIOLATIONS OF THE AMERICANS WITH
      vs.                                  :   DISABILITIES ACT OF 1990 AND NEW
                                           :   YORK CITY HUMAN RIGHTS LAW
                                           :
TERRA BEAUTY PRODUCTS, INC.,
                                           :
                          Defendant.       :
                                           :
                                           :   DEMAND FOR JURY TRIAL
                                           x
            Case 1:22-cv-09333-AT Document 1 Filed 10/31/22 Page 2 of 17




       Plaintiff Vanessa Jimenez (“Plaintiff”) brings this class action on an individual basis, and

on behalf of all others similarly situated, for declaratory relief, injunctive relief, and compensatory

damages—including statutory and punitive damages—against defendant Terra Beauty Products,

Inc. (“Defendant”), and alleges upon information and belief, personal knowledge of the Plaintiff,

and the investigation of counsel, the following:

                                   NATURE OF THE ACTION

       1.      Plaintiff is a visually-impaired and legally blind person1 who brings this civil rights

class action against Defendant for its failure to design, construct, maintain, and operate its website

to be fully accessible to—and independently usable by—Plaintiff and other blind or visually-

impaired people who use screen-reading software. Plaintiff asserts this action individually and on

behalf of all other visually impaired and/or legally blind individuals in the United States who have

attempted to access Defendant’s website and have been denied access to the equal enjoyment of

the goods offered on the website during the past three years from the date of the filing of the

complaint (the “Class” and “Class Period”).

       2.      On June 13, 2022, September 21, 2022, and October 14, 2022, Plaintiff browsed

and attempted to transact business on Defendant’s website, terrabeautybars.com (“website” or

“Defendant’s website”). Plaintiff's sister loves having her nails painted but is always looking for a

less toxic nail polish. When Plaintiff came across Defendant's website, she was highly intrigued in

their nail polish due to their natural, plant based nontoxic ingredients. Plaintiff was specifically

interested in the Terra Nail Polish No. 14 Deep Red and Terra Nail Polish No. 3 Gray (collectively



1
  Plaintiff uses the terms “blind” or “visually-impaired” to refer to all people with visual
impairments who meet the legal definition of blindness; namely, a visual acuity with correction of
less than or equal to 20 x 200. Some individuals who meet the definition of the term “legally
blind” have limited vision, while others have no vision at all.
              Case 1:22-cv-09333-AT Document 1 Filed 10/31/22 Page 3 of 17




"clean, and beautiful nail polish"). Defendant states that prides itself on manufacturing and

producing award winning, plant based, cruelty-free nail and body care. Defendant formulates and

manufactures all their products in house using only natural ingredients and essential oils. The

strong emphasis on clean ingredients is highly intriguing to Plaintiff as it is what grabbed her

attention and gave her the idea to buy the nail polish for her clean product cautious sister.

         3.      June 13, 2022, September 21, 2022, and October 14, 2022, Defendant’s website

was not accessible to Plaintiff. Not only this but, Defendant’s website remains inaccessible to

Plaintiff and to those who are visually impaired and or legally blind. Despite Plaintiff’s continued

inability to complete a purchase, Plaintiff’s desire to purchase clean nail polish remains. In fact, as

soon as the barriers on Defendant’s website are cured, Plaintiff will complete her purchase. Again,

this is due to the natural, plant-based, sustainable and innovative body care that the Defendant

provides.

         4.      The Defendant’s website has the following accessibility issues that are preventing

Plaintiff, and all other visually impaired and or legally blind individuals, from making a purchase

there:

                  (a)     The screen reader begins reading at the top of the page once a webpage

 loads, regardless of whether the Plaintiff prompted it. This delays Plaintiff’s ability to navigate

 the website, as a sighted New York customer would.

                  (b)     Defendant's website links are not properly labeled leading to the narrator

 reading many links as submenus without stating the purpose or reading the items in the submenu.

 This makes any attempt to navigate the website with a screen reader incredibly time consuming

 and confusing for Plaintiff and other class members. This delays and impedes Plaintiff in making

 informed decisions like a sighted individual would.
            Case 1:22-cv-09333-AT Document 1 Filed 10/31/22 Page 4 of 17




                (c)     Plaintiff does not receive verbal notification when attempting to add items

 to the shopping cart. Without verbal notification Plaintiff is not aware of whether the button was

 adequately selected or if an item was added to the court. Sighted individuals can see a window

 appear and can adjust quantity, remove item, or proceed to checkout. Plaintiff cannot see this

 window and the screen-reader is not able to announce any of the information preventing Plaintiff

 from completing a purchase as a sighted New York customer would.

                (d)     To properly access many of the links, Defendant’s website requires the

 use of a mouse. The screen-reader requires a keyboard to work properly for Plaintiff and other

 blind individuals. The use of a mouse is a visual activity that Plaintiff and other class members

 are unable to successfully complete. Thus, Defendant’s website inaccessible design makes it

 impossible for Plaintiff to independently navigate or make purchases.

                (e)     Alternative text (“Alt-text”) is an invisible code embedded beneath an

 image that describes the image in words. For a screen-reader to properly describe an image to a

 blind individual, there must be alt-text coded with each picture. Alt-text does not affect the visual

 presentation of the image or impact a sighted individual’s ability to view the image. Defendant’s

 website contains many images without alt-text, thus the screen reader cannot accurately vocalize

 descriptions of the images to Plaintiff or other class members. As a result, Plaintiff and other

 blind customers are unable to determine what is on the website, browse the products, and make

 purchases. Plaintiff is unable to make informed decisions, and is prevented from purchasing

 items as a sighted individual.

       5.      As a result of these continuing accessibility issues, Defendant, through its website

violates Title III of the Americans with Disabilities Act of 1990 (“ADA”), 42 U.S.C. § 12101 et
              Case 1:22-cv-09333-AT Document 1 Filed 10/31/22 Page 5 of 17




seq., and the New York City Human Rights Law (“NYCHRL”), N.Y.C. Administrative Code §§

8-101 et seq., as the website is not equally accessible to blind and visually-impaired consumers.

        6.       Plaintiff and the Class bring this action against Defendant seeking, inter alia, a

preliminary and permanent injunction, other declaratory relief, statutory damages, actual and

punitive damages, pre-judgment and post-judgment interest, and reasonable attorneys’ fees and

expenses.

                                  JURISDICTION AND VENUE

        7.       This Court has subject-matter jurisdiction over the Plaintiff’s ADA claims pursuant

to 28 U.S.C. § 1331.

        8.       This Court has supplemental jurisdiction over the Plaintiff’s NYCHRL claims

pursuant to 28 U.S.C. § 1367.

        9.       This Court is empowered to issue declaratory relief under 28 U.S.C. §§ 2201 and

2202.

        10.      Venue is proper in this judicial district pursuant to 28 U.S.C. §§ 1391(b)(2) and (c)

because: (i) Defendant’s unlawful course of conduct occurred in large part in this District; and (ii)

Plaintiff attempted to use the website in this District.

        11.      Defendant is subject to personal jurisdiction in this District. Defendant operates

and distributes its products throughout the United States, including to consumers and others in this

District. Specifically, the natural, plant-based, sustainable and innovative body care described in

paragraph 3, including the clean, and beautiful nail polish that is desired by Plaintiff, is available

on Defendant’s website for delivery in New York. It was within this District that Plaintiff is being

denied the full use and enjoyment of the goods offered on Defendant’s website. As such, it is here

that Defendant is committing a substantial part of the acts or omissions that caused injury to

Plaintiff and the Class in violation of the ADA and the NYCHRL.
             Case 1:22-cv-09333-AT Document 1 Filed 10/31/22 Page 6 of 17




                                            PARTIES

Plaintiff

       12.      Plaintiff is a resident of Bronx, New York. Plaintiff is a blind, visually-impaired,

handicapped person and a member of a protected class of individuals as defined under 42 U.S.C.

§ 12102(1)-(2) – and the regulations implementing the ADA set forth at 28 CFR §§ 36.101 et seq.

– and as defined under the NYCHRL.

Defendant

       13.      Defendant is a Corporation registered in Florida. Defendant conducts business in

New York through its website, which is a place of public accommodation as defined under 42

U.S.C. § 12181(7).

                               SUBSTANTIVE ALLEGATIONS

The Internet, which is an integral part of modern society, may only be accessed by visually
impaired individuals through screen-readers.

       14.      For sighted, blind, and visually impaired persons alike, the Internet has become a

critical source of information and an invaluable tool for shopping, conducting business,

entertainment, and countless other activities. Per a study by the MIT Technology Review

published in 2018, the average American spends 23.6 hours of every week online. According to

studies cited by CNBC, as of 2018, Americans spent 234 million hours shopping online during the

average workday. Thus, in today’s tech-savvy, instantaneous world of online commerce, blind

and visually impaired people must have the ability to access websites so that they too can enjoy

the same convenience and savings that online shopping provides to sighted New Yorkers. The

technology that aides blind and visually impaired Internet users to do this is known as screen-

reading software. In short, this software vocalizes the visual information found on a website so

that blind and visually impaired can understand it.
             Case 1:22-cv-09333-AT Document 1 Filed 10/31/22 Page 7 of 17




       15.      The Covid-19 Pandemic has made how critical the Internet is for everyday living.

At the start of the pandemic, companies across the nation were forced to shut down physical

locations. Nonetheless, many major life activities were able to continue on throughout this time,

albeit virtually, – this included schooling, court room procedures, the selling of products and or

services, and much more. This need to move online caused a major uptick in the use of the Internet.

According to Pew Research, in 2021 three out of ten American adults are almost constantly online,

up from approximately two in ten in 2015. This increase in overall use by Americans is causing a

massive shift in how consumers make purchases. The financial firm UBS is projecting that, by

2026, e-commerce sales will account for 25% of all sales (up from 18% in 2021) and that up to

50,000 physical retail stores will close.

       16.      In 2017, the Centers for Disease Control (“CDC”) estimated that the blind

population in the United States reached approximately 1.7 million. The American Foundation for

the Blind’s website states that the 2019 American Community Survey (conducted by the U.S.

Census Bureau) identified an estimated 388,524 New Yorkers with vision difficulty.

       17.      To ensure that blind and visually impaired individuals are able to use computers

and devices, several screen-reading software programs have been created for them. Some of these

programs are available for purchase and other machines have built-in integrated software.

NonVisual Desktop Access, otherwise known as “NVDA” is currently one of the most popular

screen-reading software programs available.

       18.      NVDA has many features for those who are blind and visually impaired and the

software supports many popular applications including Firefox, Google Chrome, Microsoft Word,

email applications, and music players. The built-in speech synthesizer within NVDA dictates text

on a screen in over 50 languages. When a website is properly coded, blind and visually impaired
             Case 1:22-cv-09333-AT Document 1 Filed 10/31/22 Page 8 of 17




individuals are able to use NVDA and other screen-readers to navigate a website and make

purchases there like sighted individual can.

A company’s website must accommodate the use of screen readers

       19.        NVDA, and other screen-reading programs like it, can only read the code that a

website provides. As a result, if a website is not properly designed and coded, the screen-reader

will not be able to relay information on the website to the user of the screen-reader. Without such

coding, blind and visually impaired users cannot navigate a website on their own.

       20.        The international website standards organization, the World Wide Web

Consortium, known universally as W3C, has published an updated version (version 2.1) of the

Web Content Accessibility Guidelines (“WCAG”). WCAG 2.1 is a set of well-established

guidelines promulgated to ensure that websites are accessible to blind and visually impaired

people. Non-compliant websites usually contain numerous common access barriers that prevent

the blind and visually impaired from enjoying the Internet in the same way sighted individuals do.

Defendant’s website discriminates against the visually impaired by containing access
barriers.

       21.        Defendant is a company that prides itself on manufacturing and producing award

winning, plant based, cruelty-free nail and body care. Defendant formulates and manufactures all

of their products in house using only natural ingredients and essential oils which includes clean,

and beautiful nail polish, which Plaintiff desires. Defendant offers these products on its Website

so that, inter alia, the general public throughout the nation, including in New York, can transact

business on it.

       22.        Plaintiff is visually impaired and/or legally blind. Plaintiff uses the NVDA screen-

reader to access websites on the Internet. As described above, during Plaintiff’s repeated visits to

Defendant’s website—the first occurring on June 13, 2022, the second time occurring on
             Case 1:22-cv-09333-AT Document 1 Filed 10/31/22 Page 9 of 17




September 21, 2022, and most recently on October 14, 2022—Plaintiff encountered the access

barriers set forth in paragraph 5 above that denied Plaintiff full and equal access to Defendant’s

website and the items sold there. These access barriers were the reason that Plaintiff has been

repeatedly denied the opportunity to purchase clean, and beautiful nail polish and other products

available on the website.

       23.      Plaintiff still wants to purchase clean, and beautiful nail polish for reasons

previously stated in paragraph 2 and 3. Plaintiff unequivocally intends to return to the website to

complete the desired purchase clean, and beautiful nail polish , as soon as the accessibility barriers

are cured.

       24.      However, currently, it is Defendant’s policy and practice to deny Plaintiff and the

Class access to its website and to deny them the ability to purchase the natural, plant-based,

sustainable and innovative body care offered there to the general public. Due to Defendant’s

failure and refusal to remove access barriers to its website, Plaintiff and the Class have been—and

currently are being—denied equal access to the website and the natural, plant-based, sustainable

and innovative body care offered thereon.

       25.      As Defendant’s website is available through the Internet, and thus available around

the clock from any Internet-connected device, Plaintiff may easily return to the website and

purchase the natural, plant-based, sustainable and innovative body care once the barriers to

accessibility are removed. Plaintiff awaits the correction of the accessibility barriers, so that her

desired purchase may be completed.

Defendant must remove the website’s accessibility barriers

       26.      The access barriers Plaintiff encountered have caused a denial of Plaintiff’s full and

equal access on June 13, 2022, September 21, 2022, and October 14, 2022. This denial deterred

Plaintiff in the past, and continues to deter Plaintiff presently, from completing a purchase on the
          Case 1:22-cv-09333-AT Document 1 Filed 10/31/22 Page 10 of 17




website until such access barriers are cured. If the website were equally accessible to all, as

required under the ADA, Plaintiff and the Class could independently navigate the website and

complete a desired transaction as sighted individuals do.

       27.     As Plaintiff has been repeatedly denied the ability to make a purchase on

Defendant’s website, Plaintiff has actual knowledge of the access barriers that make Defendant’s

website inaccessible and not independently unusable by blind and visually impaired people. This

denial of access to the natural, plant-based, sustainable and innovative body care offered on

Defendant’s website demonstrates that Defendant is engaging in acts of intentional discrimination.

Especially because simple compliance with the WCAG 2.1 Guidelines would provide Plaintiff and

the Class equal access to the website. Currently, Plaintiff alleges, without limitation, that

Defendant is engaging in the following acts of intentional discrimination:

                 (a)    constructing and maintaining a website that is inaccessible to visually

 impaired individuals, including Plaintiff and the Class;

                 (b)    failing to construct and maintain a website that is sufficiently intuitive so

 as to be equally accessible to visually impaired individuals, including Plaintiff and the Class;

 and

                 (c)    failing to take actions to correct these access barriers in the face of

 substantial harm and discrimination to blind and visually impaired consumers (a protected class),

 including Plaintiff and the Class.

       28.     Defendant uses standards, criteria or methods of administration that have the effect

of discriminating or perpetuating the discrimination of others, as alleged herein. To correct

Defendant’s current inaccessibility, Defendant must retain a qualified consultant acceptable to

Plaintiff to assist Defendant in complying with WCAG 2.1 guidelines. This is necessary as
          Case 1:22-cv-09333-AT Document 1 Filed 10/31/22 Page 11 of 17




Defendant lacks a corporate policy or a current qualified individual to aid in this realm, as shown

through the current inaccessibility of their website. Defendant must cooperate with the agreed

upon consultant to:

                 (a)   train its employees and agents who develop the website on accessibility

 compliance under the WCAG 2.1 guidelines;

                 (b)   regularly check the accessibility of the website under the WCAG 2.1

 guidelines;

                 (c)   regularly test user accessibility by blind or vision-impaired persons to

 ensure that Defendant’s website complies under the WCAG 2.1 guidelines; and

                 (d)   develop an accessibility policy (clearly posted on its website(s)) with

 contact information for users to report accessibility-related problems.

       29.     If the website were accessible, Plaintiff and the Class would be able to

independently purchase natural, plant-based, sustainable and innovative body care Defendant sells

there, as every sighted individual can. Defendant has, upon information and belief, invested

substantial sums in developing and maintaining its website and has generated significant revenue

thereon. The revenues procured by Defendant far exceed the associated cost of making the website

equally accessible to visually impaired consumers.

                               CLASS ACTION ALLEGATIONS

       30.     Plaintiff brings this action as a nationwide class action pursuant to Rules 23(a) and

(b)(2) of the Federal Rules of Civil Procedure (“Fed. R. Civ. P.”), both individually and on behalf

of the Class. Plaintiff also seeks certification of a sub-class of all visually impaired and/or legally

blind individuals in the City of New York who have attempted to access Defendant’s website and
            Case 1:22-cv-09333-AT Document 1 Filed 10/31/22 Page 12 of 17




have been denied access to the equal enjoyment of the goods offered on the website during the

Class Period (the “NYC Sub-Class”).2

         Excluded from the Class are Defendant, any entity in which Defendant has a controlling

interest, and the officers, directors, affiliates, legal representatives, heirs, successors, subsidiaries,

and/or assigns of any such individual or entity.

         31.     Upon information and belief, there are hundreds of members in the Class who have

suffered from Defendant’s conduct complained of herein during the Class Period. Accordingly,

joinder is impracticable pursuant to Fed. R. Civ. P. Rule 23(a)(1).

         Common issues of fact or law predominate over individual issues within the meaning of

Fed. R. Civ. P. Rule 23(a)(2). Common issues of law and fact include, but are not limited to,

whether:

                   (a)   the website is a place of “public accommodation” under the ADA;

                   (b)   the website is a “place or provider of public accommodation” under the

    NYCHRL; and

                   (c)     the website denies the full and equal enjoyment of its products, services,

    facilities, privileges, advantages, or accommodations to people with visual disabilities, violating

    the ADA and/or NYCHRL;

         32.     Plaintiff’s interests are typical of, and not antagonistic to the interests of, the Class

and the claims arising out of Defendant’s common uniform course of conduct are all based upon

the same facts and legal theories.




2
  The Class and NYC Sub-Class are hereinafter identified, collectively, as “the Class,” unless
otherwise stated.
          Case 1:22-cv-09333-AT Document 1 Filed 10/31/22 Page 13 of 17




        33.     Plaintiff will fairly and adequately protect the interests of the Class. Plaintiff has

retained competent counsel experienced with class actions and civil rights litigation who intend to

vigorously prosecute this action. Plaintiff has similar legal bases for statutory and punitive

damages that are sought on behalf of members of the Class in this action. Class certification of

the claims is appropriate under Fed. R. Civ. P. 23(b)(2) because Defendant has acted or refused to

act on grounds generally applicable to the Class, making appropriate both declaratory and

injunctive relief with respect to Plaintiff and the Class as a whole.

        34.     Alternatively, class certification is appropriate under Fed. R. Civ. P. 23(b)(3). A

class action is superior to other available methods for the fair and efficient adjudication of this

controversy since a multiplicity of actions could result in an unwarranted burden on the court

system and could create the possibility of inconsistent judgments. Moreover, a class action will

allow redress for many persons whose claims would otherwise be too small to litigate individually.

There will be no difficulty in the management of this action as a class action.

        35.     Class members’ identities can be identified by Defendant’s records. Plaintiff

reserves the right to amend the definition of the Class at any point of the litigation, especially after

being provided the opportunity to review the documents and records produced in discovery.

                                              COUNT I

   Against Defendant for Violations of the ADA, 42 U.S.C. §§ 12101 et seq., on behalf of
                                 Plaintiff and the Class

        36.     Plaintiff incorporates by reference the preceding allegations as though fully set

forth herein.

        37.     Section 302(a) of Title III of the ADA, 42 U.S.C. § 12101 et seq., provides:

        No individual shall be discriminated against on the basis of disability in the full and equal
        enjoyment of the goods, services, facilities, privileges, advantages, or accommodations of
        any place of public accommodation by any person who owns, leases (or leases to), or
        operates a place of public accommodation.
          Case 1:22-cv-09333-AT Document 1 Filed 10/31/22 Page 14 of 17




42 U.S.C. § 12182(a).

       38.     Defendant’s website is a place of public accommodation within the definition of 42

U.S.C. § 12181(7). The website is a service that is offered to the general public, and as such, must

be equally accessible to all potential consumers.

       39.     Under 42 U.S.C. § 12182(b)(1)(A)(i), it is unlawful discrimination to deny

individuals with disabilities the opportunity to participate in – or benefit from – the products,

services, facilities, privileges, advantages, or accommodations of an entity.

       40.     Under 42 U.S.C. § 12182(b)(1)(A)(ii), it is unlawful discrimination to deny

individuals with disabilities an opportunity to participate in or benefit from the products, services,

facilities, privileges, advantages, or accommodation, which is equal to the opportunities afforded

to other individuals.

       41.     Under 42 U.S.C. § 12182(b)(2)(A)(ii)-(iii), unlawful discrimination also includes,

among other things:

       “failure to make reasonable modifications in policies, practices, or procedures,
       when such modifications are necessary to afford such goods, services, facilities,
       privileges, advantages, or accommodations to individuals with disabilities . . . and
       a failure to take such steps as may be necessary to ensure that no individual with a
       disability is excluded . . . .”

       42.     Plaintiff is a member of a protected class of persons who has a physical disability

that substantially limits the major life activity of sight within the meaning of 42 U.S.C. §§

12102(1)(A)-(2)(A).

       43.     Furthermore, Plaintiff has been denied full and equal access to the website, has not

been provided goods that are provided to other patrons who are not disabled, and has been provided

goods that are inferior to the services provided to non-disabled persons.
          Case 1:22-cv-09333-AT Document 1 Filed 10/31/22 Page 15 of 17




       44.      Defendant has failed to take any prompt and equitable steps to remedy its

discriminatory conduct. These violations are ongoing.

                                             COUNT II

    Against Defendant for Violations of the New York City Human Rights Law, N.Y.C.
    Administrative Code §§ 8-101 et seq., on behalf of Plaintiff and the NYC Sub-Class

       45.      Plaintiff incorporates by reference the preceding allegations as though fully set

forth herein.

       46.      N.Y.C. Administrative Code § 8-107(4)(a) provides that:

       “It shall be an unlawful discriminatory practice for any person, being the owner,
       franchisor, franchisee, lessor, lessee, proprietor, manager, superintendent, agent or
       employee of any place or provider of public accommodation, because of . . .
       disability . . . directly or indirectly, to refuse, withhold from or deny to such person,
       the full and equal enjoyment on equal terms and conditions, of any of the
       accommodations, advantages, facilities or privileges of the place or provide of
       public accommodation.”

       47.      Defendant’s website is a “sales establishment” and “public accommodation” within

the definition of N.Y.C. Admin. Code § 8-102(9). Defendant owns and operates its website,

making it a “person” within the meaning of N.Y.C. Admin. Code § 8-102(1).

       48.      By maintaining a website with accessibility barriers, Defendant violates N.Y.C.

Administrative Code § 8-107(4)(a). This inaccessibility denies blind patrons full and equal access

to the facilities, products, and services that Defendant makes available to the non-disabled public.

       49.      Under N.Y.C. Admin. Code § 8-107(15)(a), Defendant is required to:

       “make reasonable accommodation to the needs of persons with disabilities . . . it is
       an unlawful discriminatory practice for any person prohibited by the provisions of
       [§ 8-107 et seq.] from discriminating on the basis of disability not to provide a
       reasonable accommodation to enable a person with a disability to . . . enjoy the right
       or rights in question provided that the disability is known or should have been
       known by the covered entity.”

       50.      Defendant’s actions constitute willful intentional discrimination against the Sub-

Class on the basis of a disability in violation of the N.Y.C. Administrative Code § 8-107(4)(a) and
          Case 1:22-cv-09333-AT Document 1 Filed 10/31/22 Page 16 of 17




§ 8-107(15)(a) in that Defendant has constructed and maintained a website with accessibility

barriers and failed to take action to fix the access barriers. These violations are ongoing.

       51.      As such, under § 8-107(4)(a) and/or its implementing regulations, Defendant

discriminates, and will continue in the future to discriminate, against Plaintiff and the NYC Sub-

Class. Unless the Court enjoins Defendant from continuing to engage in these unlawful practices,

Plaintiff and the NYC Sub-Class will continue to suffer irreparable harm. Plaintiff is also entitled

to compensatory damages, as well as civil penalties and fines under §§ 8-120(8) and 8-126(a) for

each offense, as well as punitive damages pursuant to § 8-502.

                                            COUNT III

        Against Defendant for Declaratory Relief, on behalf of Plaintiff and the Class

       52.      Plaintiff incorporates by reference the preceding allegations as though fully set

forth herein.

       53.      Defendant’s website contains access barriers denying blind customers full and

equal access to the products. The website violates 42 U.S.C. §§ 12182, et seq., and N.Y.C. Admin.

Code § 8-107, et seq., which prohibit discrimination against the blind.

       54.      A judicial declaration is, therefore, necessary, and appropriate.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff demands a judgment:

                 (a)   awarding Plaintiff statutory money damages, actual damages, and punitive

 damages, including pre-judgment and post-judgment interest;

                 (b)   granting a preliminary and permanent injunction requiring Defendant to

 take all the steps necessary to make its website fully comply with the requirements set forth in

 the ADA and NYCHRL;
         Case 1:22-cv-09333-AT Document 1 Filed 10/31/22 Page 17 of 17




                (c)   providing a declaration that Defendant owns, maintains and/or operates its

 website in a manner that discriminates against the blind and visually-impaired;

                (d)   certifying the Class and the NYC Sub-Class under Fed. R. Civ. P. 23(a) &

 (b)(2) and/or (b)(3), appointing Plaintiff as class representative, and Plaintiff’s attorneys as class

 counsel;

                (e)   awarding attorneys’ fees and costs, and other relief; and

                (f)   awarding such other relief as this Court deems just and proper.

                                         JURY DEMAND

      Plaintiff demands a trial by jury.



DATED: October 31, 2022                       MIZRAHI KROUB LLP




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